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                               UNITED STATES DISTRICT COUR
                                                           T
                                DISTRICT OF MASSACHUSETTS


SECURITIES AND EXCHANGE COMM                          )
                                             ISSION ' )
                                                         )
                        Plaintiff,                       )
       V.
                                                         )
                                                         )     Civil Action No. 19-11676-NMG
                                                         )
TANMAYA KABRA, a/k/a TAN KABRA and                       )
LAUNCHBYTE.1O, LLC a/k/a                                 )
THE KABRA GROUP, LLC,                                    )
                                                         )
                        Defendants.                      )
                                                         )
______________                                           )



                    CONSENT OF DEFENDANT LAUNCHBYTE.10, LLC

        l.       Defendant Launchbyte.io, LLC a/k/a The Kabra Group, LLC ("Defendant")

 acknowledges having been served with the complaint in this action, enters a general appearance,

 and admits the Court's jurisdiction over Defendant and over the subject matter of this action.

            2.   Without admitting or denying the allegations of the complaint (except as provided

 herein in paragraph 10 and except as to personal and subject matter jurisdiction, which

 Defendant admits), Defendant hereby consents to the entry of the final Judgment in the form

  attached hereto (the "Final Judgment") and incorporated by reference herein, which, among other

  things:
                  (a)     permanently restrains and enjoins Defendant from violation of Section

                          17(a) of the Securities Act of 1933 [15 U.S.C. § 77q(a)] and Section I0(b)

                           of the Securities Exchange Act of 1934 [15 U.S.C. § 78j(b)] and Rule lOb-

                           5 promulgated thereunder [17 C.F .R. § 240.10b-5] •
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